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                                   The Law Offices Of

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                                            December 20, 2019
Hon. J. Paul Oetken
United States District Judge
Southern District of New York
40 Foley Square
Courtroom 706
New York, NY 10007

              Re: United States v. Lev Parnas, et. al., 19-cr-725 (JPO)

Dear Judge Oetken:

       Attached are the exhibits and records relied upon by Mr. Parnas at Tuesday’s bail review
hearing.

       To protect the privacy interests of Mr. and Mrs. Parnas, the banking records have been
redacted to remove home addresses and account numbers, and to show only the transactions that
were of issue at the hearing—namely, five incoming $200,000 wire transfers (the loan transfers
from Attorney Ralph Oswald Isenegger ) to Mrs. Parnas’ SunTrust Account, two outgoing
$100,000 wire transfers (payments into escrow as deposit on real property), over $70,000 in
payments toward private air travel, and the $200,000 payment by Mrs. Parnas for purposes of
securing Mr. Parnas’ bail on October 18, 2019. We have also left the monthly starting and ending
balance information unreacted.

                                            Respectfully submitted,

                                            _______/S/_______
                                            Joseph A. Bondy
                                            Co-counsel to Lev Parnas


c:     AUSAS Zolkind, Donaleski and Roos
